Case 1:13-cv-10798-IT Document 198 Filed 07/21/16 Page 1 of 8

UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS
HAYAT SINDI, )
)
Plaintiff, )
) No.: 1:13-cv-10798-IT
Vv. }
)
SAMIA EL-MOSLIMANY, and )
ANN EL-MOSLIMANY, )
)
Defendants. )
)

SPECIAL JURY VERDICT FORM

Plaintiff's Claim for Defamation Against Samia El-Moslimany

1(a).

1(b).

1(c).

$

Do you find that the Plaintiff has proved by a preponderance of the evidence that (i) Samia
El-Moslimany published-a-statement-er statements) of and concerning Dr. Sindi, (ii) that
the statement (or statements) about Dr. Sindi were false and defamatory and (iii) the

defamatory statement (or statements) either caused Plaintiff economic loss or is of the type
that is actionable without proof of economic loss?

Yes S- No

 

If you answered Question 1(a) YES then proceed to Question 1(b).
If you answered Question 1(a) NO then proceed to Question 2(a).

Do you find by clear and convincing evidence that Samia El-Moslimany published the
defamatory statement (or statements) with knowledge that it was false or with reckless
disregard of whether it was false or not? —.

Yes SY No

If you answered Question 1(b) YES then proceed to Question 1(c).
If you answered Question 1(b) NO then proceed to Question 2(a)

What amount of money, if any, will fairly compensate the plaintiff for her injury or
damages caused by Samia El-Moslimany defaming the plaintiff?

400 5 000 (write in figures)

 

Foul hound ted thovsand clollats (write in words)

Please proceed to Question 2(a).
Case 1:13-cv-10798-IT Document 198 Filed 07/21/16 Page 2 of 8

Plaintiff's Claim for Intentional Interference with Contractual Relationships
Against Samia El-Moslimany

2(a). Do you find by a preponderance of the evidence that Samia El-Moslimany intentionally

interfered with plaintiff's contractual relationships?
Yes SL No

If you answered NO to Question 2(a) then proceed to Question 3(a).
If you answered YES to Question 2(a) then proceed to Question 2(b).

2(b). Do you find by a preponderance of the evidence that the plaintiff suffered damages as a
result of Samia El-Moslimany interfering with the plaintiff's contractual relationships?

Yes / No

If you answered NO to Question 2(b) then proceed to Question 3(a).
If you answered YES to Question 2(b) then proceed to Question 2(c).

2(c). What amount of money will fairly compensate the plaintiff for her injuries or damages
which were caused by Samia El-Moslimany’s interfering with the plaintiff's contractual
relationships?

$_A,OLO, O00 (write in figures)
Two Nn ry jon do Haecs (write in words)

Please proceed to Question 3(a).
Case 1:13-cv-10798-IT Document 198 Filed 07/21/16 Page 3 of 8

Plaintiff's Claim for Intentional Interference with Prospective Business Relations
Against Samia El-Moslimany

3(a). Do you find by a preponderance of éevidence® at Samia El-Moslimany intentionally
interfered with laintifi tive busi ionships?
interfered with the plaintiff's prospective business relationships
Yes So No

 

If you answered NO to Question 3(a) then proceed to Question 4(a).
If you answered YES to Question 3(a) then proceed to Question 3(b).

3(b). Do you find by a preponderance of the evidence that the plaintiff suffered damages as a
result of Samia El-Moslimany interfering with the plaintiff's prospective business
relationships?

Yes 7 No

If you answered NO to Question 3(b) then proceed to Question 4(a).
If you answered YES to Question 3(b) then proceed to Question 3(c).

3(c). What amount of money will fairly compensate the plaintiff for her injuries or damages
which were caused by Samia El-Moslimany interfering with the plaintiff's prospective
business relationships?

¢ 400 5 000 (write in figures)
Your funded thovsand oloilacs (write in words)

Please proceed to Question 4(a).
Case 1:13-cv-10798-IT Document 198 Filed 07/21/16 Page 4 of 8

 
     
 

Plaintiff's Claim for Intentional Inflictioy of Emotional Distress

4(a). Do you find by a preponderance of the evidence thai ia El-Moslimany intentionally
caused the plaintiff to suffereVére emotion’ distress? 5 —

Yes S No

 

If you answered NO to Question 4(a) then proceed to Question 5(a).
If you answered YES to Question 4(a) then proceed to Question 4(b).

4(b). Do you find by a preponderance of the evidence that the plaintiff suffered damages as a
result of Samia El-Moslimany causing the plaintiff to suffer severe emotional distress?

Yes SY No

If you answered NO to Question 4(b) then proceed to Question 5(a).
If you answered YES to Question 4(b) then proceed to Question 4(c).

4(c). What amount of money will fairly compensate the plaintiff for her injuries or damages
which were caused by Samia El-Moslimany causing the plaintiff to suffer severe emotional
distress?

¢ 109 500 O (write in figures)
One hundved thousand ollars (write in words)

Please proceed to Question 5(a).
Case 1:13-cv-10798-IT Document 198 Filed 07/21/16 Page 5 of 8

Plaintiff's Claim for Defamation Against Ann El-Moslimany

5(a). Do you find that the Plaintiff has proved by a preponderance of the evidence that (i) Ann
El-Moslimany published a statement (or statements) of and concerning Dr. Sindi, (11) that
the statement (or statements) about Dr. Sindi were false and defamatory and (iii) the
defamatory statement (or statements) either caused Plaintiff economic loss or is of the type
that is actionable without proof of economic loss?

Yes Yo No

If you answered Question 5(a) YES then proceed to Question 5(b).
If you answered Question 5(a) NO then proceed to Question 6(a).

5(b). Do you find by clear and convincing evidence that Ann El-Moslimany published the
defamatory statement (or statements) with knowledge that it was false or with reckless
disregard of whether it was false or not?

Yes JS No

If you answered Question 5(b) YES then proceed to Question 5(c).
If you answered Question 5(b) NO then proceed to Question 6(a)

5(c). What amount of money, if any, will fairly compensate the plaintiff for her injury or
damages caused by Ann El-Moslimany defaming the plaintiff?

$100,000 (write in figures)
One_bwundved thousand dollacs (write in words)

Please proceed to Question 6(a).
Case 1:13-cv-10798-IT Document 198 Filed 07/21/16 Page 6 of 8

Plaintiff’s Claim for Intentional Interference with Contractual Relationships
Against Ann El-Moslimany

6(a). Do you find by a preponderance of the evidence that Ann El-Moslimany intentionally
interfered with plaintiff’s contractual relationships?

Yes / No

If you answered NO to Question 6(a) then proceed to Question 7(a).
If you answered YES to Question 6(a) then proceed to Question 6(b).

6(b). Do you find by a preponderance of the evidence that the plaintiff suffered damages as a
result of Ann El-Moslimany interfering with the plaintiff's contractual relationships?

Yes S No

If you answered NO to Question 6(b) then proceed to Question 7(a).
If you answered YES to Question 6(b) then proceed to Question 6(c).

6(c). What amount of money will fairly compensate the plaintiff for her injuries or damages
which were caused by Ann El-Moslimany’s interfering with the plaintiff's contractual
relationships?

$ 4009, 000 (write in figures)
Fout hundred thoveand collars (write in words)

Please proceed to Question 7(a).
Case 1:13-cv-10798-IT Document 198 Filed 07/21/16 Page 7 of 8

Plaintiff’s Claim for Intentional Interference with Prospective Business Relations
Against Ann El-Moslimany

7(a). Do you find by a preponderance of the evidence that Ann El-Moslimany intentionally
interfered with the plaintiff's prospective business relationships?

S No

Yes

If you answered NO to Question 7(a) then proceed to Question 8(a).
If you answered YES to Question 7(a) then proceed to Question 7(b).

7(b). Do you find by a preponderance of the evidence that the plaintiff suffered damages as a
result of Ann El-Moslimany interfering with the plaintiff's prospective business
relationships?

Yes S No

If you answered NO to Question 7(b) then proceed to Question 8(a).
If you answered YES to Question 7(b) then proceed to Question 7(c).

7(c). What amount of money will fairly compensate the plaintiff for her injuries or damages
which were caused by Ann El-Moslimany interfering with the plaintiff's prospective
business relationships?

$109 000 (write in figures)
One hundred thousand clollats (write in words)

Please proceed to Question 8(a).
Case 1:13-cv-10798-IT Document 198 Filed 07/21/16 Page 8 of 8

Pl

 

aintiff’'s Claim for Intentional Infliction of Emotional Distress Against Ann El-Mosliman

8(a). Do you find by a preponderance of the evidence that Ann El-Mostimany fotentionally
caused the plaintiff to suffer severe emotional distress?

Yes SS

No

If you answered NO to Question 8(a), you have completed the Verdict Slip.
If you answered YES to Question 8(a) then proceed to Question 8(b).

8(b). Do you find by a preponderance of the evidence that the plaintiff suffered damages as a
result of Ann El-Moslimany causing the plaintiff to suffer severe emotional distress?

Yes &\ No JS

If you answered NO to Question 8(b), you have completed the Verdict Slip.
If you answered YES to Question 8(b) then proceed to Question 8(c).

8(c). What amount of money will fairly compensate the plaintiff for her injuries or damages

which were caused by Ann El-Moslimany causing the plaintiff to suffer severe emotional
distress?

$ Uma (write in figures)

 

(write in words)

The foreperson of the jury should sign this verdict form in the space provided below. The

foreperson should then inform the court security officer that the jury has reached a verdict. The
foreperson will submit this verdict form to the deputy clerk in open court.

I certify that the above answers represent the unanimous verdict of the all of the jurors.

Davtrd i bi zlw[ rb

Foreperson Date
